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Case 3:18-cr-00005-D Document 14 Filed 01/09/18 Page 1 of 4_ Pé\g‘e|D'A,Z

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‘ ‘ IN THE UNITED sTATEs DISTRICT C®@RTFIERN DISTRICT OFTEXAS
FoR THE NoRTHERN DISTRICT oF TEXA\ FILED

DALLAS DIVISION

 

 

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UNITED STATES OF AMERICA

 

 

CLERK, U.S. DISTRICT COURT
V_ NO. By

CHRISTOPHER MAURICE DANIELS

 

 

 

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3-180R-005-n

 

INDICTMENT
The Grand Jury charges:

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Possession of a Firearm by a Prohibited Person
(Violation of 18 U.S.C. §§ 922(g)(9) and 924(a)(2))

On or about December 12, 2017, in the Northern District of Texas, the defendant,
Christopher Maurice Daniels, Who had been convicted of a misdemeanor crime of
domestic Violence, to Wit: Domestic Assault on February '20, 2007, in the General
Sessions Court of Tipton County, Tennessee, did knowingly possess in and affecting
interstate and foreign commerce, a firearm, that is, a Taurus Protector Poly, .38 caliber
revolver, bearing serial number JZ27l75, and a Norinco, 7.62 caliber SKS-variant rifle,

bearing serial number 8021 19 lRA.

In violation of 18 U.S.C. §§ 922(g)(9) and 924(a)(2). `

Indictment--Page l

 

 

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Case 3:18-cr-00005-D Document 14 Filed 01/09/18 PageZof4 P'age|D“43

b Forfeiture Notice
(18 U.S.C. § 924(d); 28 U.S.C. § 2461(c);_
and 26 U.S.C. § 5872)

Upon conviction for the offense alleged`in Count One of this Indictment, and
pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(0), the defendant,
Christopher Maurice Daniels, shall forfeit to the United States of America any
firearm and ammunition involved in the commission of the offense, including but
not limited to the following:

(l) Gne Taurus Protector Poly, .38 caliber revolver, bearing serial number

JZ27175

(2) One Norinco, 7.62 caliber SKS-variant rifle, bearing serial number

8021191RA; and

(3) Any ammunition recovered With each Weapon.

Indictment--Page 2

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Case 3:18-cr-00005-D Document 14 Filed 01/09/18 PageSoM P°age|D»44

A TRUE BILL

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ERIN NEALY COX
UNITED STATES ATTORNEY

 

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Indictment--Page 3

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Case 3:18-cr-00005-D Document 14 Filed 01/09/18 Page 4 of 4 Page|D 45

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA
v.

CHRISTOPHER MAURICE DANIELS

 

INDICTMENT

18 U.S.C. §§ 922(g)(9) and 924(a)(2)
Possession of a Firearm by a Prohibited Person

18 U.S.C. § 924(d); 28 U.S. C. § 2461(c)
and 26 U.S.C. § 5872
Forfeiture Notice

l Count

 

A true bill rendered ' . Wj>§

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DALLAS FOREPERSON
Filed in open court this 9th day of January, ’2018.

 

Defendant in Federal Custody since 12/12/2017

 

UNITED STATES MAGISTRATE JUD
Magistrate Court Number: 3:17-MJ-917-BK

